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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO

 IN RE:                                                 )
                                                        )       Case No. 24-12624-KHT
 DNC AND TCPA LIST SANITIZER, LLC                       )
 EIN: XX-XXXXXXX                                        )       Chapter 11
                                                        )       Sub-Chapter V
          Debtor                                        )

                       CERTIFICATE OF NON-CONTESTED MATTER

       (FIRST APPLICATION FOR INTERIM ALLOWANCE AND PAYMENT OF
            ATTORNEYS’ FEES AND REIMBURSEMENT OF COSTS FOR
               WADSWORTH GARBER WARNER CONRARDY, P.C.)

        On February 10, 2025, the Debtor, Movant, filed a First Application for Interim Allowance
 and Payment of Attorneys’ Fees and Reimbursement of Costs.

          Movant hereby certifies that the following is true and correct:

         1. Service of the motion/application, notice and proposed order were timely made on all
 parties against whom relief is sought and those otherwise entitled to service pursuant to the FED. R.
 BANKR. P. and the L.B.R. as is shown on the certificate of service, L.B. Form 9013-1.2, previously
 filed with the motion/application on February 10, 2025.

         2. Mailing or other service of the notice was timely made on all other creditors and parties in
 interest pursuant to L.B.R. 9013-1 and 2002-1 (or in the manner permitted by an order of the court),
 as is shown on the certificate of service, L.B. Form 9013-1.2, previously filed with the notice on
 February 10, 2025.

          3. The docket numbers for each of the following relevant documents are:
                 a.     the motion and all documents attached thereto and served therewith,
                        (Docket No. 308);
                 b.     the notice, (Docket No. 309);
                 c.     the certificate of service of the motion and the notice, (Docket No. 309);
                 d.     proposed order, (Docket No. 308).

        4. No objections to or requests for hearing on the motion/application were received by the
 undersigned, or filed with the court and docketed in the case file by the date designated in the notice.
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        WHEREFORE, Movant prays that the court forthwith enter an order, a form of which was
 submitted to the Court, granting the requested relief.


 Dated: March 4, 2025                       Respectfully Submitted,

                                           /s/ Aaron A. Garber
                                           Aaron A. Garber, #36099
                                           WADSWORTH GARBER WARNER
                                           CONRARDY, P.C.
                                           2580 West Main Street, Suite 200
                                           Littleton, CO 80120
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